                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

JOSHUA HARMS,

       Plaintiff,                                               Case No.: 5:18-cv-4023

vs.

CITY OF SIBLEY, IOWA, GLENN                         STIPULATED DISMISSAL PURSUANT
ANDERSON, Sibley City Administrator, in his            TO FEDERAL RULE OF CIVIL
individual and official capacity, and SUSAN              PROCEDURE 41(a)(1)(A)(ii)
SEMBACH, Sibley City Clerk, in her
individual and official capacity,

       Appellee.


       COME NOW the parties, by their counsel of record, pursuant to Federal Rule of

Procedure 41(a)(1)(A)(ii), and hereby stipulate to dismissal of the above-captioned lawsuit with

prejudice. Such dismissal is not intended to dismiss the Stipulated Injunction and such

Stipulated Injunction survives this dismissal.

       April 5, 2018.

       Respectfully submitted,

       s/Glen S. Downey                          /s/ Rita Bettis
       Glen S. Downey, AT0012428                 Rita Bettis, AT0011558
       DOWNEY & MUNDY, PLLC                      ACLU OF IOWA FOUNDATION,
       303 E. Court Avenue                       INC.
       Des Moines, IA 50309                      505 Fifth Ave., Ste. 808
       Tel: (515) 288-1552                       Des Moines, IA 50309–2317
       Fax: (515) 259-7599                       Telephone: 515.243.3988
       glen@downeymundy.com                      Fax: 515.243.8506
       nathan@downeymundy.com                    rita.bettis@aclu-ia.org

                                      Attorneys for Plaintiff




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         HOPKINS & HUEBNER, P.C.

         By /s/ Hugh J. Cain
           Hugh J. Cain, AT0001379

         By /s/ Brent L. Hinders
           Brent L. Hinders, AT0003519
           2700 Grand Avenue, Suite 111
           Des Moines, IA 50312

                                  Attorneys for Defendant



Original filed.




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                                        CERTIFICATE OF SERVICE

          I hereby certify that on this date, I electronically filed the foregoing paper with the Clerk

of Court by using the CM/ECF system.

          All participants in this case are registered CM/ECF users and will served by the CM/ECF

system.

          Date: April 5, 2018

                                                                                           /s/Rita Bettis
                                                                                              Rita Bettis




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